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10 Attorneys for Defendants
     CLAIRE’S BOUTIQUES, INC.
11   AND CLAIRE’S HOLDINGS, LLC

12                              UNITED STATES DISTRICT COURT
13                             EASTERN DISTRICT OF CALIFORNIA
14
15 KILA SMITH,                                 Case No.:
16                Plaintiff,
                                               DEFENDANT CLAIRE’S BOUTIQUES,
17         vs.                                 INC. A MICHIGAN CORPORATION’S
                                               NOTICE OF INTERESTED PARTIES
18 CLAIRE’S BOUTIQUES, INC., a Michigan
   Corporation; CLAIRE’S HOLDINGS, LLC,
19 a Limited Liability Company; RYAN
   VERO, an individual; and DOES 1 through (Filed concurrently with Notice of
20 100, inclusive,                         Removal; Declarations of Danielle Clark,
                                           Michele Reilly and Adam Y. Siegel; Civil
21                     Defendant.          Case Cover Sheet; Notice of Interested
                                           Parties; and Corporate Disclosure
22                                         Statement)
23
24         TO THE UNITED STATES DISTRICT COURT FOR THE EASTERN
25 DISTRICT OF CALIFORNIA, PLAINTIFF KILA SMITH AND HER COUNSEL
26 OF RECORD HEREIN:
27         The undersigned counsel of record for Defendant CLAIRE’S BOUTIQUES, INC.,
28 a Michigan Corporation, certifies the following
                                              1    listed parties have a direct, pecuniary
                 DEFENDANT CLAIRE’S BOUTIQUES, INC. A MICHIGAN CORPORATION’S
                                NOTICE OF INTERESTED PARTIES
            Case 2:22-cv-01840-KJM-KJN        Document 3   Filed 10/14/22   Page 2 of 2

 1   interest in the outcome of this case. These representations are made to enable the Court to
 2   evaluate possible disqualification or recusal.
 3
 4            1. Plaintiff KILA SMITH;
 5            2. Defendant CLAIRE’S BOUTIQUES, INC.
 6
 7                                             Respectfully submitted,
 8
     DATED: October 14, 2022                   JACKSON LEWIS P.C.
 9
10
11
                                        By:    /s/ Adam Y. Siegel
12                                             Adam Y. Siegel
                                               Mossamat N. Karim
13                                             Attorneys for Defendant
                                               CLAIRE’S BOUTIQUES, INC.
14                                             AND CLAIRE’S HOLDINGS, LLC
15
     4896-2591-3657, v. 1
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                      DEFENDANT CLAIRE’S BOUTIQUES, INC. A MICHIGAN CORPORATION’S
                                     NOTICE OF INTERESTED PARTIES
